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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                  :
Matthew Cullopy,                                  :
                                                  :
                       Plaintiff,                 : Civil Action No.: 1:13-cv-03583
       v.                                         :
                                                  :
Stoneleigh Recovery Associates, LLC; and          :
DOES 1-10, inclusive,                             :
                                                  :
                       Defendants.                :
                                                  :

            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)

       Matthew Cullopy (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint
and voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: August 7, 2013

                                                      Respectfully submitted,

                                                      PLAINTIFF, Matthew Cullopy

                                                      By: _/s/ Sergei Lemberg     _________
                                                      Sergei Lemberg, Esq.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2013, a true and correct copy of the foregoing Notice of
Withdrawal was served electronically by the U.S. District Court Northern District of Illinois
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                             By_/s/ Sergei Lemberg_________
                                                    Sergei Lemberg
